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    11
         [Defendant’s counsel listed on next page]
    12
    13                  IN THE UNITED STATES DISTRICT COURT
    14                FOR THE CENTRAL DISTRICT OF CALIFORNIA
    15                              SOUTHERN DIVISION
    16
                                                     )   Case No. 8:19-CV-00835-JVS-DFM
    17    FISHER & PAYKEL HEALTHCARE                 )
          LIMITED, a New Zealand corporation,        )
    18                                               )
                      Plaintiff,                     )   STIPULATION AND
    19                                               )   [PROPOSED] ORDER TO
                v.                                   )   MODIFY PROTECTIVE ORDER
    20                                               )
                                                     )
    21    FLEXICARE INCORPORATED, a                  )
          California corporation, FLEXICARE          )
    22    MEDICAL LIMITED, a United                  )
          Kingdom company, and FLEXICARE             )   Hon. James V. Selna
    23                                               )
          (GROUP) LIMITED, a United                  )
    24    Kingdom company,                           )
                                                     )
    25                Defendants.                    )
                                                     )
    26                                               )
                                                     )
    27    AND RELATED COUNTERCLAIMS.                 )
                                                     )
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    14   FLEXICARE (GROUP) LIMITED
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     1           Plaintiff Fisher & Paykel Healthcare Limited (“Plaintiff” or “Fisher &
     2   Paykel Healthcare”) and Defendants Flexicare Incorporated, Flexicare Medical
     3   Limited and Flexicare (Group) Limited (collectively “Flexicare”), through their
     4   undersigned counsel, hereby agree and stipulate to the following:
     5           WHEREAS, on May 3, 2019, Fisher & Paykel filed a Complaint in this
     6   Court against Flexicare Incorporated as the above-entitled action (the “Fisher &
     7   Paykel Action”):
     8           WHEREAS, this Court entered a Protective Order in this case on
     9   September 3, 2019 (Dkt. 49) (the “Protective Order”), which is incorporated by
    10   reference herein;
    11           WHEREAS, Fisher & Paykel added Flexicare Medical Limited and
    12   Flexicare (Group) Limited as Defendants to its Third Amended Complaint, filed
    13   on February 7, 2020 (Dkt. 107);
    14           WHEREAS, the Protective Order governed, in part, the protection of
    15   certain documents produced in the course of the Fisher & Paykel Action that were
    16   designated by the parties as “Confidential,” “Highly Confidential-Attorneys’
    17   Eyes Only,” or “Restricted Confidential – Competitively Sensitive” (collectively
    18   “Confidential Information”) and the use and disclosure of documents and
    19   information so designated (“Protective Material”) was restricted, including the
    20   restriction that “all Confidential Information that has been obtained from a party
    21   during the course of this proceeding shall be used only for the purpose of this
    22   litigation, including any post-trial proceedings, appellate proceedings, and not for
    23   any other business, proceeding, litigation, or other purpose whatsoever” (Dkt. 49
    24   ¶ 5);
    25           WHEREAS, in the course of the Fisher & Paykel Action, the parties did
    26   produce documents that were designated by the party producing them as
    27   “Confidential,” “Highly Confidential-Attorneys’ Eyes Only,” or “Restricted
    28   Confidential – Competitively Sensitive” under the Protective Order;
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     1         WHEREAS, the parties submitted a “Joint Status Report and Motion to
     2   Vacate Pretrial and Trial Dates” (Dkt. 538) on February 2, 2022, advising the
     3   Court that they had reached a settlement in principal and were working to
     4   memorialize the final written agreement to resolve the Fisher & Paykel Action;
     5         WHEREAS, the Court entered an “Order of Dismissal Upon Settlement of
     6   Case” (Dkt. 539) on February 2, 2022, dismissing the Fisher & Paykel Action
     7   without prejudice, “upon good cause being shown within 90 days, to reopen the
     8   action if settlement is not consummated;”
     9         WHEREAS, Paragraph 27 of the Protective Order states that “[w]ithin sixty
    10   (60) days following the termination of this action, including all appeals, all
    11   documents and materials designated by the opposing party as “Confidential,”
    12   “Highly Confidential-Attorneys’ Eyes Only,” or “Restricted Confidential –
    13   Competitively Sensitive” . . . shall, upon request, be returned to the producing
    14   party, or disposed of pursuant to the instruction of the producing party;
    15         WHEREAS, the parties seek to modify the Protective Order to extend the
    16   deadline in Paragraph 27 to return or destroy Confidential Information to no later
    17   than ninety (90) days from the Effective Date of any written agreement resolving
    18   this action;
    19         WHEREAS, federal courts have jurisdiction to modify protective orders
    20   that they issue where they are still in force and effect, even after a judgment is
    21   final on a case. See, e.g., Public Citizen v. Liggett Group, Inc., 858 F.2d 775, 782–
    22   783 (1st Cir. 1988) (“we find that, because the protective order was still in effect,
    23   the district court had the power to make postjudgment modifications to the
    24   protective order”); FDIC v. Ernst & Ernst, 677 F.2d 230 232 (2d Cir.1982);
    25   Krause v. Rhodes, 671 F.2d 212 (6th Cir.), cert. denied, 459 U.S. 823, 103 S.Ct.
    26   54 (1982); United States v. GAF Corp., 596 F.2d 10, 16 (2d Cir.1979); American
    27   Telephone & Telegraph Co. v. Grady, 594 F.2d 594, 596–97 (7th Cir.1978), cert.
    28   denied, 440 U.S. 971, 99 S.Ct. 1533 (1979); Olympic Refining Co. v. Carter, 332
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     1   F.2d 260, 265–66 (9th Cir.), cert. denied, 379 U.S. 900 (1964); Marcus, Myth and
     2   Reality in Protective Order Litigation, 69 Cornell L. Rev. 1, 41–53 (1983); Note,
     3   Nonparty Access to Discovery Materials in Federal Court, 94 Harv. L. Rev. 1085,
     4   1091–96 (1981); and
     5         WHEREAS, good cause exists for this Court to enter the limited
     6   modification to the Protective Order (Dkt. 49), incorporated herein.
     7         NOW, THEREFORE THE UNDERSIGNED COUNSEL AND PARTIES
     8   HEREBY STIPULATE AS FOLLOWS:
     9   1.    The September 3, 2019 Protective Order entered by this Court in the Fisher
    10   & Paykel Action shall be amended and modified as provided herein below to
    11   specify that the deadline in Paragraph 27 for the return or destruction of materials
    12   designated by the opposing party as “Confidential,” “Highly Confidential-
    13   Attorneys’ Eyes Only,” or “Restricted Confidential – Competitively Sensitive”
    14   shall occur no later than ninety (90) days from the Effective Date of any written
    15   agreement resolving this action;
    16   2.    All provisions of the Court’s prior Protective Order not amended, modified,
    17   or inconsistent with the provisions herein shall remain in full force and effect.
    18
    19   IT IS SO STIPULATED.
    20                                  KNOBBE, MARTENS, OLSON & BEAR, LLP
    21
         Dated: April 6, 2022           By: /s/ Sheila N. Swaroop
    22                                      John B. Sganga, Jr.
    23                                      Stephen C. Jensen
                                            Sheila N. Swaroop
    24                                      Marko R. Zoretic
    25                                      Benjamin J. Everton
                                            Douglas B. Wentzel
    26
    27                                   Attorneys for Plaintiff
                                         FISHER & PAYKEL HEALTHCARE LIMITED
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     1                                    KING & SPALDING LLP
     2
         Dated: April 6, 2022             By: /s/ Peter Sauer (with permission)
     3                                        Christopher C. Campbell
     4                                        Joseph N. Akrotirianakis
                                              James P. Brogan
     5                                        Peter Sauer
     6
                                          Attorneys for Defendants
     7                                    FLEXICARE INCORPORATED, FLEXICARE
     8                                    MEDICAL LIMITED, AND FLEXICARE
                                          (GROUP) LIMITED
     9
    10                                    Attestation of Filing
    11              I, Sheila N. Swaroop, am the ECF User whose ID and password are being
    12   used to file this Stipulation and [Proposed] Order to Modify Protective Order. In
    13   compliance with Local Rule 5-4.3.4, I hereby attest that the above signatories have
    14   concurred in this filing’s content and have authorized this filing.
    15
    16                                Stipulated Protective Order
    17              Good cause appearing therefore, the Court hereby Orders that the Above
    18   Modification to the Protective Order issued in the above-entitled case is granted.
    19   All provisions not inconsistent with the above modifications shall remain in full
    20   force and effect.
    21
         IT IS SO ORDERED.
    22
    23   Dated:
    24
                                                      Honorable James V. Selna
    25
                                                   UNITED STATES DISTRICT JUDGE
    26   55365300


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